                                                                                             1/19/21
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  Labit,

                        Plaintiff,
                                                                               19-cv-8057 (AJN)
                –v–
                                                                                     ORDER
 Duane Reade, Inc.,

                        Defendant.



ALISON J. NATHAN, District Judge:

       In light of the extension of time to complete discovery, see Dkt. No. 26, the post-

discovery conference in this matter scheduled for January 22, 2021 is hereby adjourned to June

9, 2021.



       SO ORDERED.

 Dated: January 19, 2021
        New York, New York                       ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge




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